Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 1 of 68

UNITED STATES DISTRZCT COURT
SOUTHERN DISTRICT OF NEW YORK

 

     
  

   
       
   

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UNITED STATES OF AMERICA
_V ' _..
SEALED SUPERSEDING

GERY SHALON, : INDICTMENT

a/k/a “Garri Shal@laehvili,” :

&/k/a “Gabriel,” : 51 15 Cr. SWHE(LTS)

a/k/a “Gabi,” ‘

a/k/a “Phillipe Moueset,”

a/k/a “Chrietopher Engeham,” .
JOSHUA SAMUEL AARON, : V:;`“““~“%W`~_

a/k/a “Mike Shielde," and S£X:S[NVY
zr\f ORENSTEIN, DOCUMENT

a/k/a “Aviv Stein,” ELEC§EUDAUC

ALLY m
a k “John Aver ," : E[)
/ /a Y z DOC #:
Defendants. ;LEZ§:§j:}iI}:{dZLJ! /
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The Grand Jury charges:
Relevant Persons and Entities

1. At all times relevant to this Indictment, GERY SHALON,
a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi,"
a/k/a “Phillipe Moueeet," a/k/a “Christopher Engeham” (“GERY
SHALON”), the defendant, WaS a citizen and resident cf Ierael.
At all relevant timee, SHALON was the leader and Self-deecribed
“founder” cf a eprawling cybercriminal enterprise that
encompassed all of the criminal echemee described herein.

SHALON'S cybercriminal enterprise operated through hundreds cf

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 2 of 68

employees, co»conspirators and infrastructure in over a dozen

countries.
2. At all times relevant to this Indictment, JOSHUA
SAMUEL AARON, a/k/a “Mik@ Shields” (“JOSHUA AARGN”), the

defendantr was a United States citizen wno, at relevant times,
resided in the United States, Israel, and Russia. At the
direction of GERY SHALON, the defendant, AARON engaged in
computer backing crimes and securities market manipulation

schemes in the United States as set forth herein.

3. At all times relevant to this Indictment, ZIV
ORENSTEIN, a/k/a “John Avery,” a/k/a “Aviv Stein" (“ZIV
ORENSTEIN"}, the defendant, was a citizen and resident of

Israel, At all relevant times, ORENSTEZN acted as a principal
deputy to GERY SHALON, the defendant, in furtherance of their
criminal schemes, opening bank and brokerage accounts under
aliases, creating and maintaining shell companies, and managing
payments to and from co-conspirators and others at SHALON}s
direction.

4. At all relevant times, Victim-l was one of the World’s
largest financial institutions, with headquarters in New York,
New York.

5. At all relevant times, Victim-Z Was one of the world’s

largest financial services corporations, providing mutual fund,

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 3 of 68

online stock brokerage and other services, with headquarters in

Boston, Massachusetts.

6.

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and other

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financial

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financial

and other

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financial

and other

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and other

Carolina.

ll.

At all relevant times, Victim»B was a U.S.-based
services corporation, providing online stock brokerage
services, with headquarters in Omaha, Nebraska.

At all relevant times, Victim~4 was a U.S.-based
services corporation, providing online stock brokerage
servicesr with headquarters in New York, New York.

At all relevant times, Victim-B was a U.S.~based
services corporation, providing online stock brokerage
services, with headquarters in St. Louis, Missouri.

At all relevant times, Victim-G was a U.S,~based
services corporation, providing online stock brokerage
services, with headquarters in Queens, New York.

At all relevant times, Victim~7 was a U.S.-based
services corporation, providing online stock brokerage

services, with headquarters in Charlotte, North

At all relevant times, Victim»B was one of the world's

most widely circulated financial news publications, with

headquarters in New York, New York.

12.

pnblisher,

At all relevant times, Victim*§ was a financial news

with headquarters in Baltimore, Maryland,

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 4 of 68

13. At all relevant times, Victim-lO was a software
development firm, with headquarters in Costa Rica and offices in
the United States.

14. At all relevant times, Victim-ll was a software
development firm, with headquarters in Curacao.

15. at all relevant times, Victim»iz was a merchant risk
intelligence firm, with headquarters in Bellevue, Washington.

Overview

16. From approximately 2012 to mid-2015, GERY SHALON, the
defendant, orchestrated massive computer hacking crimes against
U.S. financial institutions, financial services corporations,
and financial news publishers, including the largest theft of
customer data from a U.S. financial institution in history {the
“U.S. Financial Sector Hacks”). Working with co-conspirators,
including, at times, JOSHUA AARON, the defendant, SHALON
directed network intrusions into Victims 1-9, among others,
stealing personal information of over one hundred million
customers of these companies. SHALON and his co*conspirators
engaged in these crimes in furtherance of other criminal
schemes, including securities market manipulation schemes that
SI-§ALON, AARON, and ZIV ORENSTEIN, a/k/a "John Avery,” a/k/a
“Aviv Stein,” the defendant, perpetrated in the United States.

ln particular, in an effort to artificially manipulate the price

4

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 5 of 68

of certain stocks publicly traded in the United States, SHALON
and his co-conspirators sought to market the stocks, in a
deceptive and misleading manner, to customers of the victim
companies whose contact information they had stolen in the
intrusions. SHALON and his co~conspirators generated tens of
millions of dollars in unlawful proceeds from these schemes.
17. fn addition to directing the U.S. Financial Sector
Hacks, GERY SHALON, the defendant, directed computer network
hacks and cyberattacks against numerous United States and
foreign companies outside of the financial sector. As set forth
below, SHALON and his co-conspirators engaged in these crimes in
furtherance of large-scale criminal businesses that SHALON and
ZIV ORENSTEIN, the defendant, operated in the United States and
other countries. In particular, between approximately 2007 and
July 2015, SHALON owned and operated unlawful internat gambling
businesses in the United States and abroad; owned and operated
multinational payment processors for illegal pharmaceutical
suppliers, counterfeit and malicious software (“malware")
distributors, and unlawful internat casinos; and owned and
controlled Coin.mx, an illegal United States-based Bitcoin
exchange that operated in violation of federal anti-money
laundering laws. Nearly all of these schemes, like SHALON's

securities market manipulation schemes, relied for their success

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 6 of 68

on computer backing and other cybercrimes committed by SHALON
and his co-conspirators.

lB, Through their criminal schemes, between in or about
2007 and in or about July 2015, GERY SHALON and his com
conspirators earned hundreds of millions of dollars in illicit
proceeds, of which SHALON concealed at least $100 million in
Swiss and other bank accounts.

19. GERY SHALON, JOSHUA AARON, and ZIV ORENSTEIN, the
defendants, and their co-conspirators operated their criminal
schemes, and laundered their vast criminal proceeds, through at
least 75 shell companies and bank and brokerage accounts around
the world. The defendants controlled these companies and
accounts using aliases, and by fraudulently using approximately
200 purported identification documents, including over 30 false
passports that purported to be issued by the United States and
at least 16 other countries.

Execution of the U.S. Financial Sector Hacks

20. GERY SHALON, and JOSHUA AARON, the defendants, and
their co~conspirators executed the U.S. Financial Sector Hacks
using the following means and methods:

a. In furtherance of the conspiracy, using aliases,
SHALON and, at SHALON's direction, certain co~conspirators not

identified herein, procured computer network infrastructure,

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 7 of 68

including particular servers located in Egypt, the Czech
Republic, South Africa, Brazil and elsewhere, to be used to gain
unlawful access to companies’ computer networks and to receive
data stolen from those networks during the intrusions.

b. Also in furtherance of the conspiracy, at various
times, SHALON directed a co-conspirator not identified herein
(“CC-l”) to execute network intrusions at particular companies
in an effort to steal customer data as identified by SHALON. On
at least one occasion, as set forth below, AARON identified the
company to be backed in furtherance of the conspiracy,

c. As a further part of the conspiracy, in
connection with many of the network intrusions, AARON provided
to SHALON, who provided to CC-l, AARON's own login credentials,
and other information obtained by AARON, as a customer of many
of the victim companies, in order for CC»i to perform certain
analysis of those victims’ networks in connection with the
intrusions.

d. Also in furtherance of the conspiracy, at
SHALON's direction, CC-l hacked into the victims' network
servers, on which CC~l typically caused a particular piece of
malware to be installed. This malware provided CC~l with

persistent access to many of the victim companies’ networks,

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 8 of 68

enabling CC~l and SHALON to steal data from these victims
repeatedly, sometimes over a period of many months.

e. As a further part of the conspiracy, as CC~l
engaged in particular network intrusions at SHALON's direction,
CC*l and SHALON discussed the nature of the data CC-l was
locating and stealing at SHALON’s direction, various issues CC-l
encountered while backing into the networks, and SHALON's
receipt and use of the stolen data.

f. Also in furtherance of the conspiracy, after
obtaining stolen customer data from victim companies, SHALON,
AARON, and their co~conspirators used or sought to use the data
in furtherance of their other criminal schemes, including
securities market manipulation schemes they perpetrated with ZIV
ORENSTEIN, the defendant, and others, as described below.

The 2012-2013 Hacks

 

21. Between approximately 2012 and late 2013, GERY SHALON,
the defendant, and CC-i, working at times with JOSHUA AARON, the
defendant, executed the hacks of the computer networks of
Victims 4-9, stealing records relating to tens of millions of
customers of these institutions. Among other things, in
foreign-language electronic communications, during these hacks:

a. SHALON bragged about the size and scope of his

securities market manipulation schemes, and described to CC-l

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 9 of 68

his use of the stolen data in furtherance of those schemes. For
exampie:

i. ns to a particular publicly traded
stock for Which SHALON, AARON and ORENSTEIN had manipulated
trading in the United States, SHALON boasted that his sale of
that stock for large profits was “a small step towards a large
empire.” As SHALON explained, “We buy them §i.e., stocks] very
cheap, perform machinations, then play with them. . .” When CC~
l asked, with respect to SHALON's ability to cause people in the
United States to purchase stocks, if it really Was “popular in
America ~ buying stocks?,” SHALON responded, “It's like drinking
freaking vodka in Russia."

ii. SHALON indicated to CC-l that SHALON
intended to distribute “mailers,” or promotions of particular
stocks, to people Whose contact information CC-i had stolen from
the victim companies.

iii. SHALON described contacting and lying to
people whose personal information had been obtained in the
hacks, in the course of tricking those people into buying stocks
being deceptively touted by the defendants. In particular,
SHALON explained, individuals acting at SHALON's direction lied

to people about how their personal contact information had been

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 10 of 68

obtained, falsely claiming that the information was simply “in
our investors’ database.”

b. SHALON and CC-l discussed the risk of law
enforcement detection of their activities. For example, CCwl
claimed, “{i}n Israel, you guys probably don’t have to be afraid
of the USA. . . meaning that even if there is some case, they
won't be able to do anything”? SHALON responded, “[t]here is
nothing to be afraid of in Israel. . . .” On another occasion,
CC»l suggested that SHALGN “get{] a passport in another name.

it will probably be safer?,” to which SHALON responded that he
was “doing it now.”

c. SHALON and CC-l discussed expanding the size and
scope of their network intrusions to encompass thefts of
material non-public information from the financial institutions
and other firms they were hacking. For example, CC-l noted,
“the top managers in [Victim-S], can they have some interesting
info in their mail [i.e., email}? Regarding working on the
stock market, etc. It's a big company after all. mb [Maybe}
they have some secrets. . . What do you think?” SHALON
responded, “Yes, this is a very cooi idea. Some inside [i.e.,
inside, or material non-public, information]. We need to think

how we can do it.”

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Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 11 of 68

d. AARON encouraged and participated in the

conspiracy's backing crimes in numerous ways. For examples

i. ln furtherance of the schemes to hack
Victims-e-S, AARON provided to SHALON, who in turn provided to
CC-l, AARON’s own login credentiais, and in some instances, the
login credentials of a friend of AARON's, as a customer of these
companies, which CC~l used in furtherance of efforts to hack
into the victim company networks. In connection with the
network intrusion of Victim~S, at SHALON's direction, AARON also
provided to SHALON other information that AARON was able to
obtain from Victim-S online as a Victim-S customer.

ii. AARON encouraged SHALON to orchestrate
the hack of Victim-9. Thereafter, SHALON informed AARON of the
successful completion of the Victim-9 hack, noting that they had
obtained “probably 9 million unique” customer records of Victim~
9. SHALON further told AARON, “we got what {yo]u wanted so now
show me how we make out of it lOOmil [i.e. $lOO million] a
year," which AARON agreed to do.

The 2014 Hacks

22. In 2014, GERY SHALON, JOSHUA AARON and their Co~
conspirators orchestrated network intrusions into even bigger
financial institutionsl including Victims 1-3. In particular,

in Or about March 2014, GERY SHALON and JOSHUA AARON, the

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Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 12 of 68

defendants, and their co-conspirators began their efforts to
hack into the computer networks of Victim-B. As part of that
effort, they repeatedly attempted to access AARON's Victim-3
customer account from a particular Egypt-based computer server
(the “Egypt Server"), but they were unable to do so because,
after observing the attempts to access the account from this
server, Victim~B locked AARON's account for online access. In
response, in furtherance of the hack, AARON called Victim-3 and,
upon being notified that his account had been locked and asked
by a customer service representative whether AARON had been
traveling in Egypt in March 2014, AARON lied to the
representative, and claimed that he had been in Egypt. In truth
and in fact, and as AARON well knew, AARON had not been in
Egypt, and was merely attempting to convince Victim-B to allow
AARON and his co~conspirators to access AARON's account online
in furtherance of their efforts to hack into Victimw3.

23. Thereafter, in Aprii 2014, SHALON and his co~
conspirators unlawfully accessed the network of Victim~Q by
exploiting the somcalled “Heartbleed” vulnerability, which had,
at that time, just been widely identified as a previously
unrecognized security vulnerability that existed in computer
network servers on a widespread basis. While they succeeded in

gaining access to Victim-Z’s network, shortly after they did so,

12

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 13 of 68

Victimmz recognized and repaired the Heartbleed vulnerability in
its systems.

24. Beginning in June 2014, and ending in August 2014,
SHALON, AARON and their co-conspirators executed the hack of
Victim~l, during which they stole customer records of over 83
million customers of Victim~l. To hack into Victim-l's network,
they used, among others, the Egypt Server, which they had rented
from a third-party company for years under an alias frequently
used by SHALON, AARON and their co~conspirators in the course of
their criminal schemes. In August 2014, the day after the
Victim~l hack was first widely reported in the media, SHALON's
co-conspirator abruptly canceled their longtime rental of the
Egypt Server.

The Securities Market Manipulation Schemes

25. From in or about 2011 up to and including July 2015,
GERY SHALOh, JOSHUA AARON, and ZIV ORENSTEIN, the defendants,
operated lucrative securities market manipulation schemes in the
United States. ln furtherance of their securities market
manipulation scheme, among other things:

a. SHALON and AARON identified opportunities to
partner with “promoters,” including certain cooperating
witnesses not identified herein (“CW-l” and “CW-Z”), who

identified companies whose stock would be targeted for

13

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 14 of 68

manipulation. In some instances, at the time SHALON and AARON
partnered with the promoters, the companies identified by the
promoters were already publicly traded, and in other instances,
when they partnered with the promoters, SHALON and AARON worked
with the promoters to cause the companies to become publicly
traded in furtherance of the scheme. To do so, SHALON caused
privately held companies to engage in “reverse mergers” with
publicly traded shell corporations owned and controlled by
SHALON .

b. Upon partnering with the promoters, SHALON, AARON
and the promoters agreed upon the compensation SHALON and AARON
would receive for their role in the scheme, which was typically
either hundreds of thousands of dollars, or shares in the
targeted stock that the defendants often sold for up to millions
of dollars in profits per stock in the course of the scheme,

c. Also in furtherance of the securities fraud
scheme, the promoters ~ along with, at certain times, SHALON and
AARON ~ acquired control over all or substantially all of the
free-trading shares of the targeted stock, that is, shares that
the owner could trade without restriction on a national stock
exchange or in the over-the-counter market. At certain times,
when they acquired such shares, SHALON and AARON held the shares

in particular U.S. brokerage accounts, which were frequently

14

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 15 of 68

held in the names of shell companies controlled by ORENSTEEN and
which were managed in part at SHALON's direction by ORENSTEIN
using numerous aliases, false passports and other false personal
identification information.

d. As a further part of the scheme to defraud, after
members of the conspiracy acquired control of a substantial
portion of the free"trading shares of the targeted stock,
SHALON, AARON and their co»conspirators artificially inflated
the stock's price and trading volume through two primary
fraudulent and deceptive means. First, certain members of the
conspiracy typically executed prewarranged manipulative trades
to cause the stock's price to rise small amounts on successive
days. Second, in connection with that trading, SHALON and AARON
began disseminating materially misleading, unsolicited (“spam”)
messages by various means ~ including by email to up to millions
of recipients per day - that falsely touted the stock in order
to trick others into buying it. SHALON and AARON engaged in the
U.S. Financial Sector Hacks in part to acquire email and mailing
addresses, phone numbers and other contact information for
potential victims to whom they could send such deceptive
communications. As orchestrated by SHALON and AARON, these
communications contained materially false and fraudulent

statements including, for example, (i} that the stock's recent

15

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 16 of 68

trading activity reflected legitimate demand for the stock {when
in truth and in fact, and as AARON and SHALON well knew, the
trading activity was caused in Whole or part by their co»
conspirators' manipulative trading} and (ii) that the emails
were being distributed and financed by certain third parties
{when, in truth and in fact, and as the defendants well knew,
the emails were being distributed and financed by SHALON, AARON
and their co-conspirators, who controlled all or nearly all of
the free»trading shares of the stock}. In addition to
fraudulently promoting the stocks by emailr SHALON and AARON
fraudulently marketed the stocks to potential U.S. victims by
mail and phone.

e. Also in furtherance of the conspiracy, after
causing the stock's price and trading volume to increase
artificially during the days or weeks of the deceptive
promotional campaign, members of the conspiracy (including the
defendants, when they owned shares), began selling their shares
in a coordinated fashion, often resulting in millions of dollars
in profits per stock to members of the conspiracy. The co-
conspirators’ massive coordinated sales typically placed
downward pressure on the stock's price and caused its trading
volume to plummet, exposing unsuspecting investors to

significant losses. SHALON, AARON and ORENSTEIN earned millions

16

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 17 of 68

of dollars in illicit profits this way. For example, among the
dozens of publicly traded stocks for which they successfully
manipulated trading, the defendants sold their holdings in a
particular stock (“Stoch~l”) for over $2 million at artificially
inflated prices, soon after which Stock~l's price and liquidity
plummeted.

f. As a further part of the scheme to defraud, after
selling shares of the manipulated stock at artificially high
prices or otherwise receiving compensation from promoters for
their role in the scheme, SHALON, AARON, and ORENSTEIN laundered
their criminal proceeds overseas, directing millions of dollars
of their criminal profits to particular accounts in Cyprus for
further distribution in part to a particular Cyprus-based shell
company account owned by AARON and to other overseas shell
company accounts beneficially owned and controlled by SHALON and
other members of the conspiracy.

The Unlawful Internet Gambling Schemes, Hacks and Cyberattacks
26, In addition to operating U.S. securities market
manipulation schemes, from at least in or about 2007 up to and
including in or about July 2015, GERY SHALON and ZIV ORENSTEIN,

the defendants, and their co-conspirators operated lucrative,
unlawful internat casinos in the United States and elsewhere

through hundreds of employees in multiple countries. In the

17

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 18 of 68

United States, SHALON, ORENSTEIN and their co-conspirators
knowingly operated, among others, at least 12 unlawful internet
casinos (the “Casino Companies”} which, through their websites,
offered real-money casino gambling in violation of federal law
and the laws of numerous states, including New York State.
Similar to the manner in which they marketed their fraudulent
stock promotions, SHALON, ORENSTEIN and their co~conspirators
knowingly marketed the Casino Companies to U.S. customers
through, among other things, email promotions distributed on a
massive scale. Through the Casino Companies, SHALON, ORENSTEIN,
and their co-conspirators generated hundreds of millions of
dollars in unlawful income, at a minimum, earning up to millions
of dollars in profits per month.

27. ln furtherance of his unlawful internet gambling
schemes, GERY SHALON, the defendant, and his co-conspirators
engaged in massive hacks and cyberattacks against other internet
gambling businesses to steal customer information, secretly
review executives’ emails, and cripple rival businesses. ln
particular, in or about 2612, SHALON orchestrated network
intrusions of competitors in order to steal his competitors’
customer databases and other information. SHALON separately
directed “distributed denial of service,” or DDOS, attacks,

against competitors to temporarily shut down their businesses in

18

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 19 of 68

response to perceived misconduct by them directed at SHALON’s
casinos.

28. Also in furtherance of his unlawful internet gambling
businesses, GERY SHALON, the defendant, orchestrated network
intrusions of Victim-lO and Victim~li, software development
companies that provided operating software to SHALON's internat
casinos and other such casinos around the world. In doing so,
SHALON sought to, and did, secretly obtain access to the email
accounts of senior executives at both companies, reading their
emails on an ongoing basis, a fact SHALON ultimately admitted to
at least one of the executives whose emails he had been secretly
reading. SHALON monitored company executives' emails in order
to ensure that the companies’ work with SHALON's competitors did
not, in SHALON's view, compromise the success of SHALON's
unlawful internet gambling businesses.

The Illicit Payment Processing Scheme and Hack

29. From at least in or about 2011 until in or about July
2015, GERY SHALON and ZIV ORENSTEIN, the defendants, and their
co~conspirators operated IDPay and Todur, multinational payment
processors for criminals who sought to receive payments by
credit and debit card in furtherance of their unlawful schemes.
Through these payment processors, SHALON, ORENSTEIN and their

co-conspirators knowingly processed credit and debit card

19

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 20 of 68

payments for, at a minimum, unlawful pharmaceutical
distributors, purveyors of counterfeit and malicious purported
“anti-virus” computer software, their own unlawful internet
casinos, and an illegal United States~based Bitcoin exchange
owned by SHALON. In doing so, SHALON, ORENSTEIN and their co-
conspirators knowingly processed hundreds of millions of dollars
in transactions for criminal schemes, for which they earned a
percentage of every transaction, amounting to over $18 million
in illicit profits.

30. As GERY SHALON and ZIV ORENSTEIN, the defendants, well
knewr banks and credit card issuers in the United States and
elsewhere were largely unwilling to process payment transactions
for illegal activities such as internat gambling, the sale of
counterfeit pharmaceuticals, the distribution of counterfeit and
malicious software, and running an unlicensed Bitcoin exchange.
For that reason, to open and operate bank accounts in numerous
countries, including Azerbaijan, through which they processed
unlawful credit and debit card transactions, SHALON, ORENSTEIN,
and their co~conspirators variously lied to financial
institutions about the nature of their business and colluded
with corrupt international bank officials who willfully ignored

its criminal nature in order to profit from, as a co-conspirator

20

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 21 of 68

described it to SHALON, their payment processing
“casino/soft[ware}/pharma[ceutical] cocktail.”

31. Furthermore, to deceive U.S. banks and credit card
issuers into authorizing their illicit credit and debit card
payment transactions, GERY SHALON and ZIV ORENSTEIN, the
defendants, and their co-conspirators deliberately misidentified
and miscoded those transactions, in violation of bank and credit
card company rules and regulations. For example, through their
payment processing scheme, SHALON, ORENSTEIN and their co-
conspirators arranged for money received from United States
gamblers to be disguised as payments to phony online non~
gambling merchants, such as wedding dress and pet supply storesr
in order to trick U.S. and other financial institutions into
allowing the transactions to be completed.

32. At relevant times, in an effort to ensure compliance
with their regulations, major United States credit card
companies monitored and investigated merchant activity that
appeared to be in furtherance of criminal schemes or otherwise
designed to circumvent their regulations. In the course of that
work, credit card companies repeatedly identified bank accounts
which were receiving credit and debit card payments for illicit
pharmaceuticals and other criminal goods and services, and

which, unbeknownst to the credit card companies, were operated

21

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 22 of 68

by GERY SHALON and ZIV ORENSTEIN, the defendants, in furtherance
of their unlawful payment processing scheme. ln so doing, the
credit card companies imposed millions of dollars in penalties
on the financial institutions through which SHALON and ORENSTEIN
processed these unlawful credit and debit card payments, and
SHALON and ORENSTEIN, in turn, paid those amounts to the
financial institutions to cover the penalties.

33. To avoid further financial penalties and processing
shutdowns, and to evade law enforcement detection of their
illicit payment processing scheme, GERY SHALON and ZIV
ORENSTEIN, the defendants, (l) worked continuously to obtain new
bank accounts, and establish new phony merchants, to replace
those that were periodically shut down by banks and credit card
companies for engaging in unlawful activity; (2) monitored
credit card transactions processed through their payment
processing business to attempt to discern which, if any, were
undercover transactions made on behalf of credit card companies
attempting to identify unlawful merchants; and {3) lied
repeatedly to banks that discovered illicit transactions
conducted in their accounts by pretending they were surprised
and otherwise unaware of the illicit nature of the transactions,
a deceit that SHALON and ORENSTEIN discussed openly with each

other and co-conspirators.

22

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 23 of 68

34. The efforts Of GERY SHALON and ZIV ORENSTEIN, the
defendants, to evade detection of their criminal payment
processing activity went beyond the defensive measures described
above. Beginning in or about 2012, SHALON and his co»
conspirators backed into the computer networks of Victim-l2, a
U.S. company which assessed merchant risk and compliance for
credit card issuers and others, including by detecting merchants
that accepted credit card payments for unlawful goods or
services. Thereafter, on an ongoing basis, SHALON and his co-
conspirators monitored Victim-lz's detection efforts, including
reading emails of Victim-l2 employees, so they could take steps
to evade detection by Victim~lZ of their unlawful payment
processing scheme. In particular, through their unlawful
intrusion into Victim~lZ’s network, SHALON and his coh
conspirators determined which credit and debit card numbers
Victim»iz employees were using to make undercover purchases of
illicit goods in the course of their effort to detect unlawful
merchants. Upon identifying those credit and debit card
numbers, SHALON and his co“conspirators blacklisted the numbers
from their payment processing business, automatically declining
any transaction for which payment was offered through one of

those credit or debit card numbers.

23

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 24 of 68

'I‘he Unlawful Bitcoin Exchange

 

35. In addition to the other unlawful schemes set forth
above, from in or about 2013 to in or about Juiy 2015, GERY
SHALON, the defendant, knowingly owned Coin.mx, a Bitcoin
exchange service, which was operated by co-conspirators in the
United States at SHALON's direction in violation of federal
anti-money laundering {“AML”) registration and reporting laws
and regulations. Through Coin.mx, SHALON and his co-
conspirators enabled their customers to exchange cash for
Bitcoins, charging a fee for their service. In total, between
approximately October 2013 and duly 2015, Coin.mx exchanged
millions of dollars for Bitcoins on behalf of its customers.

36. GERY SHALGN, the defendant, and his co~conspirators
engaged in substantial efforts to evade detection of their
unlawful Bitcoin exchange scheme by operating through a phony
front-company, “Collectables Club,” and maintaining a
corresponding phony “Collectables Club” website. In doing so,
they sought to trick the major financial institutions through
which they operated into believing their unlawful Bitcoin
exchange business was simply a members-only association of
individuals who discussed, bought, and sold collectable items,
such as stamps and sports memorabilia. In approximately 2014,

in an effort to evade potential scrutiny from these institutions

24

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 25 of 68

and others, SHALON's co-conspirators acquired control of a
federal credit union (the “Credit Union"), installed co~
conspirators on the Credit Union’s Board of Directors, and
transferred Coin.mx's banking operations to the Credit Union,
which SHALON's co-conspirators operated, at least until early
2015, as a captive bank for their unlawful business.

Statutory Allegations
COUNT ONE
(Conspiracy to Commit Computer Hacking: U.S. Financial
Sector Hacks}

37. The allegations contained in paragraphs 1-24 of this
Indictment are repeated and realleged as if fully set forth
herein.

38. From at least in or about 2012, up to and including at
least duly 2015, in the Southern District of New York and
elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
“Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a
“Christopher Engeham," and JOSHUA SAMUEL AARON, a/k/a “Mike
Shields,” the defendants, and others known and unknown,
willfully and knowingly did combine, conspire, confederate, and
agree together and with each other to commit an offense against
the United States, to wit, computer hacking, in violation of

Title 18, United States Code, Sections lO3G(a)(2)(A) and

1030(a) (2) {C).

25

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 26 of 68

39. It was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
and JOSHUA SAMUEL AARON, a/k/a “Mike Shields,” the defendants,
and others known and unknown, would and did intentionally access
a computer without authorization and exceed authorized access,
and thereby obtain information contained in a financial record
of a financial institution, for purposes of commercial advantage
and private financial gain, and in furtherance of a criminal act
in violation of the laws of the United States, to wit, the
securities and wire fraud crimes charged in Counts Four through
rhirteen of this Indictment, and the value of the information
obtained was greater than $5,000, in violation of Title 18,
United States Code, Sections 1030{a){2)(A) and lOBO(c)(Z)(B).

40. it was a further part and an object of the conspiracy
that'GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,”
a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher
Engeham,” and JOSHUA SAMUEL AARON, a/k/a “Mike Shields," the
defendants, and others known and unknown, would and did
intentionally access a computer without authorization and exceed
authorized access, and thereby did obtain information from a
protected computer, for purposes of commercial advantage and

private financial gain, and in furtherance of a criminal act in

26

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 27 of 68

violation of the laws of the United States, to wit, the
securities and wire fraud crimes charged in Counts Four through
Thirteen of this Indictment, and the value of the information
obtained was greater than $5,000, in violation of Title 18,
United States Code, Sections lGBO(a)(Z)(C) and lOBO(c)(Z){B).

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41. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and
eisewhere:

a. In or about June 2012, JOSHUA AARON, the
defendant, provided information regarding Victim-B*s websites
and servers to GERY SHALON, the defendant.

b. In at least in or about June 2012, SHALON caused
the unauthorized access to, and theft of customer data from, the
computer network of Victim~9.

c. In or about October 2012, AARON provided login
credentials for a Victim~§ account to SHALON.

d. In or about November 2012, AARON provided login
credentials for a Victim-? account to SHALON.

e. In or about November 2012, AARON provided login

credentials for a Victim~e account to SHALON.

27

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 28 of 68

f. In or about November 2012, AARON provided login
credentials for a Victim-G account to SHALON.

g. In or about December 2012, SHALON caused the
unauthorized access to, and theft of customer data from, Victim-
6, including by wire communications through the Southern
Qistrict of New York.

h. In or about August 2013, SHALON caused the
unauthorized access to, and theft of customer data from, the
computer network of Victim~S.

i. On or about August 36, 2013, while backing into
Victim»S’s computer network, CC~l told SHALON, in electronic
communications, in substance, that CC-l had located 10 million
email addresses of Victim-B customers.

j. During at least in or about September 2013 to in
or about February 20i4, SHALON caused the unauthorized access
to, and theft of customer data from, the computer network of
Victim»§.

k. buring at least in or about September 20l3 to in
or about November 2013, SHALON caused the unauthorized access
to, and theft of customer data from, the computer network of

Victim-?.

28

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 29 of 68

l. In or about December 2013, SHALON caused the
unauthorized access to, and theft of customer data from, the
computer network of Victimwe.

m. On or about December 7, 2013, while backing into
Victim-e's computer network, CC-l told SHALON, in electronic
communications, in substance, that CC»1 had located 15 million
email addresses of Victim-4 customers.

n. In or about April 2014, SHALON, the defendant,
caused Victim~Z’s computer network to be accessed without
authorization.

o. From in or about dune 2614, to in or about August
2014, SHALON caused the unauthorized access to, and theft of
customer data from, the computer network of Victim-l.

(Title 18, United States Code, Section 371).

COUNT TWO
(Computer Hacking: Victim~l)

The Grand dury further charges:

421 The allegations contained in paragraphs 1»25 and 41 of
this Indictment are repeated and realleged as if fully set forth
herein.

43. From at least in or about dune 2014, up to and
including at least in or about August 2614, in the Southern
District of New York and elsewhere, GERY SHALON, a/k/a “Garri

Shalelashvili," a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe
29

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 30 of 68

Mousset,” a/k/a “Christopher Engeham,” and JOSHUA SAMUEL AARON,
a/k/a “Mike Shields,” the defendants, and others known and
unknown, willfully and knowingly, did intentionally access a
computer without authorization and exceed authorized access, and
thereby obtain information contained in a financial record of a
financial institution and from a protected computer, for
purposes of commercial advantage and private financial gain, and
in furtherance of a criminal act in violation of the laws of the
United States, to wit, the securities and wire fraud crimes
charged in Counts Four through Thirteen of this Indictment, and
the value of the information obtained was greater than $5,000,
to wit, SHALON and AARON worked with others to hack into the
computer network of Victim-l and steal personal information of
tens of millions of Victim»l customers in furtherance of fraud
schemes perpetrated by SHALON and AARON.

(Title 18, United States Code, Sections lOBO(a)(Z)(A),
iOBO(c)(2)(B), and 2.)

COUNT THREE
{Computer Hacking: Victim~S)

The Grand Jury further charges:
44. The allegations contained in paragraphs 1~25 and 41 of
this Indictment are repeated and realleged as if fully set forth

herein.

30

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 31 of 68

45. From at least in or about late 2013, up to and
including in or about May 2015, in the Southern District of New
York and elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,”
a/k/a “Gahriel,” a/k/a “Gahi,” a/k/a “Phillipe Mousset,” a/k/a
“Christopher Engeham,” and JOSHUA SAMUEL AARON, a/k/a “Mike
Shields,” the defendants, and others known and unknown,
willfully and knowingly, did intentionally access a computer
without authorization and exceed authorized access, and thereby
obtain information contained in a financial record of a
financial institution and from a protected computer, for
purposes of commercial advantage and private financial gain, and
in furtherance of a criminal act in Violation of the laws of the
United States, to wit, the securities and wire fraud crimes
charged in Counts Four through Thirteen of this Indictment, and
the value of the information obtained was greater than $5,000,
to wit, SHALON and AARON worked with others to hack into the
computer network of Victim“$ and steal personal information of
millions of Victim-B customers in furtherance of fraud schemes
perpetrated by SHALON and AARON.

(Title 18, United States Code, Sections 1030(a)(2)(C},
1930(c)(2)(B), and 2.)

31

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 32 of 68

COUNT FOUR
(Conspiracy to Commit Secnrities Fraud)

The Grand Jury further charges:

46. The allegations contained in paragraphs 1-25 and 41 of
this Indictment are repeated and realleged as if fully set forth
herein.

47. From at least in or about 2011, up to and including in
or about July 2015, in the Southern District of New York and
elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
“Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe Mousset," a/k/a
“Christopher Engeham,” and JOSHUA SAMUEL AARON, a/k/a “Mike
Shields,” and ZIV ORENSTEZN, a/k/a “Aviv Stein,” a/k/a “John
Avery,” the defendants, and others anown and unknown, willfully
and knowingly did combine, conspire, confederate and agree
together and with each other to commit an offense against the
United States, to wit, securities fraud, in violation of Title
15, United States Code, Section 78j(b) and 78ff, and Title 17,
Code of Federal Regulations, Section 24G.lOb-5.

48. lt was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
JOSHUA SAMUEL AARON, a/k/a “Mike Shields,” and ZIV ORENSTEIN,
a/k/a “Aviv Stein,” a/k/a “John Avery,” the defendants, and

others known and unknown, willfully and knowingly, directly and
32

Case 1:15-cr-OO333-LTS Document 14 Filed 11/09/15 Page 33 of 68

indirectly, by the use of means and instrumentalities of
interstate commerce, and of the mails, and of facilities of
national securities exchanges, would and did use and employ, in
connection with the purchase and sale of securities,
manipulative and deceptive devices and contrivances in
contravention of Title 17, Code of Federal Regulations, Section
240.10b~5, by (a) employing devices, schemes, and artifices to
defraud; (b) making untrue statements of material fact and
omitting to state material facts necessary in order to make the
statements made, in light of the circumstances under which they
were made, not misleading; and (c) engaging in acts, practices
and courses of business which operated and would operate as a
fraud and deceit upon purchasers and sellers, all in violation
of Title 15, United States Code, Sections 78j{b) and 78ff, and
Title 17, Code of Federal Regulations, Section 240.10b~5, to
wit, by email and telephone communications from overseas to New
York, New York and elsewhere, the defendants engaged in a scheme
to artificially manipulate the price and trading volume of
numerous stocks publicly traded in the United States.

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49. In furtherance of the conspiracy and to effect the

illegal object thereof, the following overt acts, among others,

33

Case 1:15-cr-OO333-LTS Document 14 Filed 11/09/15 Page 34 of 68

were committed in the Southern District of New York and
elsewhere:

a. In or about mid-20li, GERY SHALON, a/k/a “Garri
Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe
Mousset,” a/k/a “Christopher Engeham,” the defendant, caused a
brokerage account to be opened under an alias and using a copy
of a false passport sent to a securities brokerage firm (“Firm-
l”) in Arizona.

b. On or about June 12, 2611, by email from outside
the United States to a securities brokerage firm located in New
York, New York (“Firij”), Zlv ORENSTEIN, a/k/a “Aviv Stein,"
a/k/a “John Avery,” the defendant, opened an account at Firm-Z
in the name “Entersa Limited” using an alias and a false
passport (the “Firm-2 Entersa Account”).

c. On or about June 26, ZOll, in order to obtain
trading authority over an account in the name “Entersa Limited”
{“the Firm»l Entersa Account”) for JGSHUA SAMUEL AARON, a/k/a
“Mike Shields,” the defendant, SHALON informed Firm~l by email
that “Mike Shields” was an “advisor” to Entersa.

d. In or about early January 2012, AARON transferred
2.5 million shares of Stock-l into the Firm-2 Entersa Account in

New York, New York.

34

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 35 of 68

e. In or about late January 2012, SHALON and AARON
caused spam emails touting Stock-l, including false statements
about the cause of the increase in Stock-l's trading Volume, to
be widely disseminated to recipients throughout the United
States .

f. From on or about January 30, 2012 to on or about
February 13, 2012, Entersa’s Stock-l holdings at Firm~2, located
in New York, New York, were liquidated and, at the direction of
AARON, Firm-Z Wired over $i.l million in proceeds to a bank
account in Cyprus in the name of Entersa (“tbe Entersa Cyprus
Account”).

g. In or about late 2011, AARON discussed With CW»2,
by telephone, the manner in Which AARON Wanted CW-Z to
manipulate the price of a particular publicly traded stock
{“Stock~Z”).

h. In or about February 2012, SHALON and AARON met
with CW-l in person in Kiev, Ukraine, in furtherance of schemes
to manipulate the price and sales of the publicly traded stock
of at least two companies (“Stock~B” and “Stock~e”).

i. In or about October 2022, AARON caused spam
emails touting StocK-B, including false statements that Stock~

B’s trading voiume Was increasing due to investors “becoming

35

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 36 of 68

aware of the great story behind [Stock»E],” to be widely
disseminated.
j. fn or about mid~ZOll, at SHALON’s directicn,

another individual not charged herein Wired over $80,000 of
SHALON and AARON's compensation for the unlawful manipulation of
the price and trading volume of a particular publicly traded
stock (“Stock S”) from the Entersa Cyprus Account to a bank
account maintained by AARON in Cyprus in the name of “Warmkal
Trading Limited” (“AARON's Warmkal Account”).

k. In or about June 2011, by email and telephone,
AARON informed a representative of Firmaz in New York, New Ycrk
that email promotional campaigns run by AARON and others had
resuited in substantial trading volume in ten particular
publicly traded stocks (not including Stocks l-V) on particular
dates.

l. In or about May 2014, ORENSTEIN, by email, sent
to SHALON and AARON two documents signed in the name of an alias
used by SHALON, AARON, and ORENSTEIN, Which effected a transfer
of shares of a particular publicly traded stock (“Stock-€”).

m. In or about May 2014, ORENSTEIN, by email, sent
to SHALON and AARON documents signed in the name of an

individual - in fact, an alias used by the defendants ~ in which

36

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 37 of 68

this purported individual accepted a position on the Board of
Directors of the company traded publicly as Stock»7.

n. fn or about May 2015, in furtherance of the
scheme to manipulate Stocka, a particular brokerage firm in the
United States received a form signed in the name of the
purported account owner a in fact, an alias used by the
defendants ~ appointing “Mike Shields,” that is, AARON, as agent
and attorney~in~fact for the account.

{Title 18, United States Code, Section 371.)

COUNT FIVE
(Conspiracy to Commit Wire Fraud: Securities Market
Manipulation Scheme)

The Grand Jury further charges:

50. The allegations contained in paragraphs 1~25, 41, and
49 of this Indictment are repeated and realleged as if fully set
forth herein.

51. From at least in or about 2033, up to and including in
or about July 2015, in the Southern District of New York and
elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
“Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a
“Christopher Engeham,” JOSHUA SAMUEL AARON, a/k/a “Mike
Shields,” and ZIV ORENSTEIN, a/§§/a “A‘viv Stein,” a/}<;/a “JOhn
Avery,” the defendants, and others known and unknown, willfully

and knowingly, combined, conspired, confederated and agreed

37

Case 1:15-cr-OO333-LTS Document 14 Filed 11/09/15 Page 38 of 68

together and with each other to violate Title 18, United States
Code, Section 2343.

52. lt was a part and an object of the conspiracy that the
defendants, and others known and unknown, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud and for obtaining money and property by
means of false and fraudulent pretenses, representations, and
promises, would and did transmit and cause to be transmitted by
means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, in
violation of Title 18, United States Code, Section 1343, to wit,
SHALON, AARON and ORENSTEIN perpetrated schemes to manipulate
the price and trading volume of numerous publicly traded stocks,
and in doing so, exchanged emails with Firm-Z in New York, New
York from overseas and caused Firm»2 to send wire transfers to,
and receive wire transfers from, an overseas bank account.

(Title 18, United States Code, Section 1349.}

COUNTS SIX THROUGH TWEL'VE
(Securities Fraud)

 

The Grand Jury further charges:
53. The allegations contained in paragraphs lsz, 41 and
49 of this Indictment are repeated and realleged as if fully set

forth herein.
38

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 39 of 68

54. On or about the dates set forth below, in the Southern
District of New York and elsewhere, GERY SHALON, a/k/a “Garri
Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi," a/k/a “Phillipe
Mousset,” a/k/a “Christ©pher Engeham,” JOSHUA SAMUEL AARON,
a/k/a “Mike Shields," and ZIV ORENSTEEN, a/k/a “Aviv Stein,”
a/k/a “John Avery,” the defendants, willfully and knowingly,
directly and indirectly, by the use of means and
instrumentalities of interstate commerce, and the mails and
facilities of national securities exchanges, did use and employ,
and cause to be used and employed, in connection with the
purchase and sale of securities, manipulative and deceptive
devices and contrivances in contravention of Title 17, Code of
Federal Regulations, Section 240.10b-5, by (a) employing
devices, schemes, and artifices to defraud; {b) making untrue
statements of material fact and omitting to state material facts
necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; and
(c) engaging in acts, practices and courses of business which
operated and would operate as a fraud and deceit upon persons,
to wit, in or about the time periods set forth below, the
defendants participated in schemes to manipulate the price and

trading volume of the following publicly traded securities:

39

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 40 of 68

 

 

 

 

 

 

 

 

COUN'I‘ SECURITY APPROXIM_ATE TIME PERIOD
SIX Stock-l October 2011 to April 2012
SEVEN Stock-2 August 2011 to March 2012
EId;r Stock~3 December 2011 to October 2012
NINE StoCk-4 March 2012 to August 2012

TEN Stock-S March 2012 to September 2012
ELEVEN Stock~€ March 2014 to December 2014
TWELVE Stock»? April 2014 to duly 2015

 

 

 

 

 

{Title 15, United States Code, Sections 78j(b) & 78ff; Title l?,
Code of Federal Regulations, Section 240.10b-5, and Title 18,
United States Code, Section 2.)

40

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 41 of 68

COUNT THIRTEEN
(Wire Fraud)

The Grand Jury further charges:

55. The allegations contained in paragraphs 1-25, 41, and
49 of this Indictment are repeated and realleged as if fully set
forth herein.

56. From at least in or about 2011, up to and including
in or about July 2015, in the Southern District of New York and
elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
“Gabriel," a/k/a “Gabi," a/k/a “Phillipe Mousset,” a/k/a
“Christopher Engeham,” JOSHUA SAMUEL AARON, a/k/a “Mike
Shields,” and ZIV ORENSTEIN, a/k/a “Aviv Stein,” a/k/a “John
Avery,” the defendants, willfully and knowingly, having devised
and intending to devise a scheme and artifice to defraud, and
for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, did
transmit and cause to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose
of executing such scheme and artifice, to wit, SHALON, AARON and
ORENSTEIN perpetrated schemes to manipulate the price and
trading volume of numerous publicly traded stocks, and in doing

so, exchanged emails from overseas with Firm»Z, located in New

41

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 42 of 68

York, New York, and caused Firm-Z to send wire transfers to, and
receive wire transfers from, an overseas bank account.

(Title 18, United States Code, Sections 1343 and 2.}

COUNT FOURTEEN
{Identification Document Fraud Conspiracy)

The Grand Jury further charges:

57. The allegations contained in paragraphs 1~25, 41, and
49 of this Indictmsnt are repeated and realleged as if fully set
forth herein.

58. From at least in or about 2011, up to and including in
or about Jnly 2015, in the Southern District of New York and
elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
JOSHUA sAMUsn AARON, a/k/a “Mike shields," and xiv oRstTs:N,
a/k/a “Aviv Stein,” a/k/a “John Avery,” the defendants, together
with others known and unknown, willfully and knowingly combined,
conspired, confederated, and agreed together and with each other
to commit an offense against the United States, to wit,
identification document fraud, in violation of Title 18, United
States Code, Sections lOZS{a)(Z), lOZB(a){3), and lOZB{a}(7}.

59. lt was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”

JOSHUA SAMUEL AARON, a/k/a “Mike Shi€lds," and ZIV ORENSTEIN,
42

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 43 of 68

a/k/a “Aviv Stein,” a/k/a “John Avery,” the defendants, and
others known and unknown, willfully and knowingly would and did
transfer an identification document, authentication feature, and
a false identification document, in and affecting interstate and
foreign commerce, knowing that such document and feature was
stolen and produced without lawful authority, in violation of
Title 18, United States Code, Section 1028(a)(2).

60. lt was further a part and an object of the conspiracy
that GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabi,”
a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,” JOSHUA
SAMUEL AARON, a/}<“./a “Mike Shields," and ZIV ORENSTEIN, a/}<;/&l
“Aviv Stein," a/k/a “John Avery,” the defendants, and others
known and unknown, willfully and knowingly would and did possess
with intent to use unlawfully and transfer unlawfully five and
more identification documents, authentication features, and
false identification documents, in and affecting interstate and
foreign commerce, in violation of Title 18, United States Code,
Section 1028(a)(3).

61. lt was further a part and an object of the conspiracy
that GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,”
a/k/a “Gabi,” a/k/a “Phi§iipe Mousset,” a/k/a “Christopher
Engeham,” JOSHUA SAMUEL AARON, a/k/a “Mike Shields," and ZlV

ORENSTEIN, a/k/a “Aviv Stein,” a/k/a “John Avery,” the

43

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 44 of 68

defendants, and others known and unknown, willfully and
knowingly would and did transfer, possess, and use, without
lawful authority, a means of identification of another person
with the intent to commitr and to aid and abet, and in
connection with, unlawful activity that constitutes a violation
of federal law, in violation of Title 18, United States Code,
Section 1028(a)(7).
Overt Acts

62. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere:

a. On or about March 29, 2011, to open the Firm~i
Entersa account using an alias, ZEV ORENSTEIN, a/k/a “Aviv
Stein,” a/k/a “John Avery,” the defendant, emailed to Firm-l a
copy of a purported passport of the United Kingdom (“False Name-
1 UK Passport”).

b. ln or about June ZOll, to obtain trading
authority for JOSHUA SAMUEL AARON, a/k/a “Mike Shields,” the
defendant, over the Firm-l Entersa account, GERY SHALON, a/k/a
“Garri Shalelashvili,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,”
a/k/a “Christopher Engeham," and AARON caused Firm~l to receive

false personal identification information, including a fake

44

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 45 of 68

Florida driver’s license and a Social Security Number belonging
to another person.

c. In or about June ZOll, to open an account at
Firm-l, SHALON caused Firm-l to receive a false purported
passport of France.

d. On or about June 12, 20§1, to open the Firm-Q
Entersa account, ORENSTEIN sent an email from outside the United
States to Firm»2 in New York, New York, containing a false
purported passport of the United Kingdom, which bore a different
name than that of the False Name-l UK Passport (the “False Name~
2 UK Passport”).

e. On or about August 4, 2011, by email, AARON
provided the False Name*Z UK Passport to Firm~l.

f. On or about March l, 2011, working With SHALON,
ORENSTEIN provided a copy of a fake United States passport to a
financial institution in Azerbaijan.

g. On or about July 21, 2013, ORENSTEIN sent an
email to a co-conspirator not identified herein instructing the
co-conspirator to alter the name, identification information,
picture, and signature of a purported Latvian passport.

h. On or about October 9, 2014, ORENSTEIN caused a
brokerage firm in the United States to receive a purported

identification document from the Ukraine in a particular name

45

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 46 of 68

(“False Name-B”}, a purported Serbian passport in a particular
name (“False Name-e”) and documents purportedly executed by
False Name-B and False Name-4 appointing “Mike Shieids,” that
is, AARON, as agent and attorney-in~fact for accounts held in
False Name-B and False Name-4.

(Titie 18, United States Code, Sections 1028(f} and 2.)

COUNT FIFTEEN
(Aggravated ldentity Theft}

The Grand Jury further charges:

63. The allegations contained in paragraphs 1-25, 41, 49,
and 62 of this Indictment are repeated and realleged as if fully
set forth herein.

64. From in or about mid-2011 until in or about duly 2015,
in the Southern District of New York and elsewhere, GERY SHALON,
a/k/a “Garri Shalelashviii,” a/k/a “Gabriel,” a/k/a “Gabi,”
a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,” JOSHUA
SAMUEL AARON, a/k/a “Mike Shields,” and ZIV ORENSTEIN, a/k/a
“Ayiv Stein,” a/k/a “John Avery,” the defendants, willfully and
knowingly did transfer, possess, and use, without lawful
authority, a means of identification of another person, during
and in relation to a felony violation enumerated in Section
1028A{c), to wit, SHALON AARON, and ORENSTEIN used numerous
means of identification of other individuals, and the Social

Security Number of another person, to commit the securities and

46

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 47 of 68

wire fraud crimes charged in Counts Four through Thirteen of
this Indictment.
(Title 18, United States Code, Sections 1028A and 2.}

COUN'I‘ SIXTEEN
(Unlawful Internet Gambling Enforcement Act Conspiracy)

The Grand Jury further charges:

65. The allegations contained in paragraphs 1, 3, 13~14,
17~19, and 26»28 of this Indictment are repeated and realleged
as if fully set forth herein.

66. From at least in or about 2007, up through and
including in or about duly 2015, in the Southern District of New
York and elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,”
a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a
“Christopher Engeham,” and ZIV ORENSTEIN, a/k/a “John Avery,”
a/k/a “Aviv Stein,” the defendants, together with others known
and unknown, unlawfully, willfully, and knowingly did combine,
conspire, confederate, and agree together and with each other to
commit offenses against the United States, to wit, violations of
Title 31, United States Code, Section 5363.

67. lt was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
and ZIV ORENSTEIN, a/k/a “John Avery,” a/k/a “Aviv Stein,” the

defendants, and others known and unknown, unlawfully, willfully,
47

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 48 of 68

and knowingly, with persons engaged in the business of betting
and wagering, would and did knowingly accept, in connection with
the participation of another person in unlawful internat
gambling, to wit, gambling in violation of New York Penal Law
Sections 225.00 and 225.05 and the laws of other states where
the gambling businesses operated, credit, and the proceeds of
creditr extended to and on behalf of such other person,
including credit extended through the use of a credit card, and
an electronic fund transfer and the proceeds of an electronic
fund transfer from and on behalf of such other person, and a
check, draft and similar instrument which is drawn by and on
behalf of such other person and is drawn on and payable at and
through any financial institution, in violation of Title 31
United States Code, Sections 5363 and 5366.
Overt Acts

68. In furtherance of the conspiracy and to effect the
illegal object thereof, GERY SHALON, a/k/a “Garri
Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi," a/k/a “Phillipe
Mousset,” a/k/a “Christopher Engeham,” and ZIV ORENSTEIN, a/k/a
“John Avery,” a/k/a “Aviv Stein,” the defendants, and others
known and unknown, committed the following overt acts, among

others, in the Southern District of New York and elsewhere:

48

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 49 of 68

a. On or about October i, 2007, by email, SHALON
informed another individuai that his internat casino “is one of
the only casinos accepting players worldwide including the
United States.”

b. On or about January 13, 2010, by email, SHALON
arranged to send advertisements promoting SHALON’s internet
casinos by U.S. mail to up to one hundred thousand U.S.
residents in over 30 states, including the Southern District of
New York.

c. On or about December 8, 2013, ORENSTEIN, by
email, informed SHALON that “casino turnover" for the month of
October 2013 was $78,910,099, which was “almost no change” from
a given month approximately one year earlier, July 2012, when
monthly “casino turnover” was $75,259,052.

d. On or about December 8, 2013, by email, ORENSTEIN
informed SHALON of the monthly salary cost for approximately 270
employees of their casino business in Ukraine and Hungary.

e. On or about November 17, 2014, by email,
ORENSTEIN attempted to address problems experienced by United
States~based players making deposits to gamble at one of

SHALON's internat casinos.

49

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 50 of 68

f. On or about January 28, 2015, by email, SHALON
approved of a promotion to be sent to United States~based
players for one of SHALON’s internet casinos.

g. In or about June 2015, ORENSTEIN informed SHALON,
by email, that casino “profits” for the month of February 2015
were $7,288,828.

h. Between approximately June 26, 2015, and duly ?,
2015, in the Sonthern District of New York and elsewhere, a
federal law enforcement agent, acting in an undercover capacity,
gambled at one of SHALON's internat casinos with real money.

(Title 18, United States Code, Section 371.}

C‘OUNT SEVENTEEN
(Unlawful Internet Gambling Enforcement Act)

The Grand Jury further charges:

69. The allegations contained in paragraphs l, 3, 13-14,
17~19, 26-28, and 68 of this Indictment are repeated and
realleged as if fully set forth herein,

70. From in or about 2007 up to and including in or about
duly 2015, in the Southern District of New York and elsewhere,
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel," a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
and ZIV ORENSTEIN, a/k/a “John Avery]” a/k/a “Ayiv Stein," the
defendants, persons engaged in the business of betting and

wagering and persons aiding and abetting persons in the business
50

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 51 of 68

of betting and wagering, did knowingly accept, in connection
with the participation of another person in unlawful internat
gambling, to wit, gambling through the Casino Companies in
violation of New York Penal Law Sections 225.00 and 225.05 and
the laws of other states where the Casino Companies operated,
credit, and the proceeds of credit, extended to and on behalf of
such other person, including credit extended through the use of
a credit card, and an electronic fund transfer and the proceeds
of an electronic fund transfer from and on behalf of such other
person, and a check, draft and similar instrument which was
drawn by and on behalf of such other person and was drawn on and
payable at and through any financial institution.

(Title 31, United States Code, Sections 5363 and 5366; Title 18
United States Code, Section 2.)

COUN'I` EIGHTEEN
(Operation of an Illegal Gambling Business)

The Grand dury further charges:

71. Tha allegations contained in paragraphs 1, 3, 13»14,
17-19, 26~28, and 68 of this Indictment are repeated and
irealleged as if fully set forth harain.

72. From at least in or about 2007 up to and including in
or about July 2015, in the Southern District of New York and
alsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a

“Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a

53_

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 52 of 68

“Christopher Engeham," and ZIV ORENSTEIN, a/k/a “John Avery,”
a/k/a “Aviv Stein,” the defendants, willfully, and knowingly did
conduct, finance, manage, supervise, direct, and own all and
part of an illegal gambling business, namely a business that
engaged in and facilitated online casino gambling, in violation
of New York State Penal Law Sections 225.00 and 225.05 and the
law of other states in which the business operated, and which
business involved five and more persons who conducted, financed,
managed, supervised, directed, and owned all and part of that
business, and which business had been and had remained in
substantially continuous operation for a period in excess of
thirty days and had gross revenues of $2,000 in a single day, to
wit, the defendants operated and aided and abetted the operation
of the Casino Companies.

(Title 18, United States Code, Sections 1955 and 2,}

COU'NT NINETEEN
(Conspiracy to Commit Wire Fraud: Unlawful Payment Processing)

The Grand Jury further charges:

73. The allegations contained in paragraphs l, 3, 15, 17M
19, and 29~34 of this Indictment are repeated and realleged as
if fully set forth herein‘

74. From at least in or about 2011, up to and including on
or about duly 2025, in the Southern District of New York and

elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
52

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 53 of 68

“Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a
“Christopher Engeham," and ZIV ORENSTEIN, a/k/a “John Avery,"
a/k/a “Aviv Stein,” the defendants, and others known and
unknown, unlawfully, willfully, and knowingly did combine,
conspire, confederate, and agree together and with each other to
commit wire fraud, in violation of Title 18, United States Code,
Section 1343.

75. lt was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
and ZIV ORENSTEIN, a/k/a “John Avery,” a/k/a “Aviv Stein,” the
defendants, and others known and unknown, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by
means of false and fraudulent pretenses, representations, and
promises, would and did transmit and cause to be transmitted by
means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, in
violation of Title 18, United States Code, Section 3343, to wit,
the defendants participated in a scheme involving wire
communications to deceive financial institutions and other

financial intermediaries into processing and authorizing

53

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 54 of 68

payments to and from (i) the Casino Companies and United States
gamblers, (ii) distributors of unlicensed pharmaceuticals around
the world, (iii) purveyors of counterfeit and malicious
purported antiwvirus software in the United States, and (iv)
Coin.mx, an unlicensed United States-based Bitcoin exchange, by
disguising the transactions to create the false appearance that
they were unrelated to gambling, unlicensed pharmaceutical
distribution, sales of counterfeit and malicious software, and
the exchange of money for Bitcoinsr respectively, and thereby to
obtain money of, or under the custody and control of, those
financial institutions and intermediaries.

(Title lS, United States Code, Section 1349.}

COUNT TWENTY
(Conspiracy to Gperate an Unlicensed Money Transmitting
Business)

Tbe Grand Jury further cnarges:

76. The allegations contained in paragraphs l, 17~19, and
35-36 of the Indictment are repeated and realleged as if fully
set forth herein.

77. From at least in or about April 2013 to at least in or
about duly 2015, in the Southern District of New York and
elsewhere, GERY SHALON, a/k/a “Garri Sbalelasnvili,” a/k/a
“Gabriel,” a/k/a “Gabi,” a/k/a “Pbillipe Mousset,” a/k/a

“Christopher Engeham,” the defendant, and others known and

54

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 55 of 68

unknown, unlawfully, willfully and knowingly, did combine,
conspire, confederate, and agree together and with each other to
commit an offense against the United States, to wit, to violate
Title 18, United States Code, Section 1960.

78. lt was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/K/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
the defendant, and others known and unknown, unlawfully,
willfully and knowingly would and did conduct, control, manage,
supervise, direct, and own all and part of an unlicensed money
transmitting business, to wit, Coin.mx, d/b/a “Collectables
Club,” d/b/a “Cnrrency Enthusiasts" (“Coin.mx") in violation of
Title 18, United States Code, Section l960.

Overt Acts

79. ln furtherance of the conspiracy and to effect the
illegal object thereof, GERY SHALON, a/k/a “Garri
Shalelasbvili,” a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe
Mousset,” a/k/a “Christopher Engeham,” the defendant, and
others known and unknown, committed the following overt acts,
among others, in the Southern District of New York and
elsewhere:

a. On or about November 22, 2013, SHALON agreed with

a co-conspirator not named herein to miscode credit card

55

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 56 of 68

transactions processed on behalf of Coin.mx in an effort to
avoid detection of the unlawful Coin.mx scheme by credit card
issuers.

b. From in or about becember 2013, through at least
in or about November 2014, in an effort to promote Coin.mx and
expand its customer base, a co»conspirator not identified herein
exchanged numerous emails with a company in the Southern
District of New York.

c. In or about August 2014, in the Southern District
of New York, a co~conspirator not identified herein opened a
bank account for use by Coin mx.

d. ln September 2014, SHALON met with certain co~
conspirators not identified herein and discussed the operation
of Coin.mx.

e. From in or about November 2014, through at least
in or about December 2014, a co~conspirator not named herein
exchanged numerous emails from the Southern District of New York
with individuals outside the Southern District of New York in
furtherance of their efforts to secure bank accounts through
which Coin.mx could operate unlawfully.

(Title 18, United States Code, Section 371.)

56

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 57 of 68

COUNT TWENTY-ONE
(Operation of an Unlicensed Money Transmitting Business)

The Grand Jury further charges:

80. The allegations contained in paragraphs l, 3, 17~19
35~36, and 79 of the Indictment are repeated and realleged as if
fully set forth herein.

81. From at least in or about April 2013 to at least in or
about July 2015, in the Southern District of New York and
elsewhere, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
“Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a
“Christopher Engeham,” the defendant, willfully and knowingly
did conduct, control, manage, supervise, direct, and own all or
part of an unlicensed money transmitting business affecting
interstate and foreign commerce, to wit, Coin.mx, an internat-
based Bitcoin exchange business, which failed to comply with the
money transmitting business registration requirements set forth
in federal law and regulations.

{Title 18, United States Code, Sections 1960 and 2.)
COUNT TWENTY-TWO
(Money Laundering Conspiracy: Secnrities Market
Manipulation Scheme)

The Grand Jury further charges:

82. The allegations contained in paragraphs 1~25, 41, 49,
and 62 of this lndictment are repeated and realleged as if fully

set forth herein.
57

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 58 of 68

83. From at least 2011, up to and including in or about
July 2015, in the Southern District of New_York and elsewhere,
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
JOSHUA SAMUEL AARON, a/k/a “Mike Shields,” and ZIV ORENSTEIN,
a/k/a “John Avery,” a/k/a “Aviv Stein,” the defendants, and
others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to
violate Title 18, United States Code, Section lBS€(a){l}(B)(i)
and 1957(a).

84. It was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabi," a/k/a
“Phiilipe Mousset,” a/k/a “Christopher Engeham," JOSHUA SAMUEL
AARON, a/]<;/a “Mike Shieids,” and ZI'\/' ORENSTEIN, a/]</a “Jol’l“n
Avery,” a/k/a “Aviv Stein,” the defendants, and others known and
unknown, in an offense invoiving and affecting interstate and
foreign commerce, knowing that the property involved in certain
financial transactions represented the proceeds of some form of
unlawful activity, willfully and knowingly would and did conduct
and attempt to conduct such financial transactions which in fact
involved the proceeds of specified unlawful activity, to wit,
the proceeds of the wire fraud and securities fraud offenses

charged in Connts Four through Thirteen of this Indictment,

58

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 59 of 68

knowing that the transaction was designed in whole or in part to
conceal and disguise the nature, the location, the source, the
ownership and the control or the proceeds of specified unlawful
activity, in violation of Title 18, United States Code, Section
iBSS(a){i){B)(i).

85. It was a further part and an object of the conspiracy
that GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabi,”
a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham," JOSHUA
SAMUEL AARON, a/k/a “Mike Shields,” and ZIV ORENSTEIN, a/k/a
“John Avery,” a/k/a “Aviv Stein,” the defendants, and others
known and unknown, within the United States and involving United
States persons, in an offense involving and affecting interstate
and foreign commerce, willfully and knowingly would and did
engage and attempt to engage in monetary transactions in
criminally derived property of a value greater than $l0,000 that
was derived from specified unlawful activity, to wit, the
proceeds of the wire fraud and securities fraud offenses charged
in Counts Four through Thirteen of this Indictment, in violation

of Title 18, United States Code, Section 1957.

59

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 60 of 68

Overt Acts
86. fn furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere:

a. On or about February 5, 2012, JOSHUA SAMUEL
AARON, a/k/a “Mike Shields,” the defendant, by email instructed
Firm-2, located in New York, New York, to wire $241,000 from the
Entersa Firm~2 account to the Entersa Cyprus Account.

b. On or about February 8, 2012, by email, AARON
instructed Firm-Z, in New York, New York, to wire $191,000 from
the Entersa Firm-2 account to the Entersa Cyprus Account.

c. On or about February 13,`2612, by email, AARON
instructed Firm~Z to wire $542,000 from the Entersa Firm~Z
account to the Entersa Cyprus Account.

d. On or about August i, 2011, GERY SHALON, a/k/a
“Garri Shalelashvili,” a/k/a “Gabi,” a/k/a “Phillipe Mousset,"
a/k/a “Christopher Engeham,” the defendant, instructed an
individual not identified herein to transfer $27,560 from the
Entersa Cyprus Account to Aaron’s Warmkal Account.

e. On or about June 12, ZGll, by email from outside

the United States to Firm~Z, ZIV ORENSTEIN, a/k/a “Aviv Stein,”

60

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 61 of 68

a/k/a “John Avery," the defendant, opened the Firm~Z Entersa
using an alias and a false passport.
(Title 18, United States Code, Section 1956(h).)
COUNT 'I‘WEN'I‘Y »~ THREE

(Money Laundering Conspiracy: Unlawful Internet Gambling and
Payment Processing)

 

The Grand Jury further charges:

87. The allegations contained in paragraphs l, 3, 13~14,
17~19, 26~32, and 68 of this Indictment are repeated and
realleged as if fully set forth herein.

88. From at least 2811, up to and including in or about
July 2015, in the Southern District of New York and elsewhere,
“Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a
“Phillipe Mousset,” a/k/a “Christopher Engeham,” and ZIV
ORENSTEIN, a/k/a “John Avery,” a/k/a “Aviv Stein,” the
defendants, and others known and unknown, willfully and
knowingly did combine,`conspire, confederate, and agree together
and with each other to violate Title 18, United States Code,
Section 1956(a)(l}(E)(i) and l957(a).

89. It Was a part and an object of the conspiracy that
GERY SHALON, a/k/a “Garri Shalelashvili," a/k/a “Gabriel," a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
and ZIV ORENSTEIN, a/k/a “John Avery,” a/k/a “Aviv Stein,” the

defendants, and others known and unknown, in an offense

61

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 62 of 68

involving and affecting interstate and foreign commerce, knowing
that the property involved in certain financial transactions
represented the proceeds of some form of unlawful activity,
willfully and knowingly would and did conduct and attempt to
conduct such financial transactions which in fact involved the
proceeds of specified unlawful activity, to wit, the proceeds of
the gambling and wire fraud offenses charged in Counts Sixteen
through Nineteen of this Indictment, knowing that the
transaction was designed in whole or in part to conceal and
disguise the nature, the location, the source, the ownership and
the control or the proceeds of specified unlawful activity, in
violation of Title 18, United States Code, Section
lBSG(a){l)(B)(i).

90. lt was a further part and an object of the conspiracy
that GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,”
a/k/a “Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher
Engeham,” and ZIV ORENSTEIN, a/k/a “John Avery," a/k/a “Aviv
Stein,” the defendants, and others known and unknown, within the
United States and involving United States persons, in an offense
involving and affecting interstate and foreign commerce,
willfully and knowingly would and did engage and attempt to
engage in monetary transactions in criminally derived property

of a value greater than $l0,000 that was derived from specified

62

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 63 of 68

unlawful activity, to wit, the proceeds of the gambling and wire
fraud offenses charged in Counts Sixteen through Nineteen of
this lndictment.
Overt Acts

91. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Soutnern District of New York and
elsewhere:

a. In or about 2013, GERY SHALON, a/k/a “Garri
Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe
Mousset,” a/k/a “Christopher Engeham,” the defendant, caused
millions of dollars in unlawful profits from the operation of
his payment processing business to be sent from bank accounts in
Azerbaijan to a Swiss bank account owned and controlled by
SHALON in the name of another shell company.

b. On or about June 26, 2016, after an undercover
law enforcement agent in the Sonthern District of New York
gambled at one of SHALON’s internat casinos using a debit card,
SHALON and his co-conspirators caused the agent’s debit card
statement falsely to reflect that the money spent by that agent
through the casino website was for a purchase at

“housesepetz.com,” a phony merchant.

63

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 64 of 68

c. Throughout in or about 2012 and 2013, SHALON and
ZIV ORENSTEIN, a/k/a “John Avery,” a/k/a “Aviv Stein,” the
defendant, caused millions of dollars in unlawful gambling
proceeds and profits to be sent to, from and between Cyprus~
based bank accounts in the names of shell companies, including
shell companies controlled by SHALON and ORENSTEIN using aliases
and false identification.

(Title 18, United States Cods, Section l956(h).}

FORFEITURE ALLEGATIONS

92. As a result of committing one or more of the offenses
alleged in Counts One through Three of this Indictment, GERY
SHALON, a/k/a “Garri Shalelashvili,” a/k/a “Gabriel,” a/k/a
“Gabi,” a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham",
and JOSHUA SAMUEL AARON, a/k/a “Mike Shields,” the defendants,
shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 982(a}{2)(8) any property constituting, or
derived from, proceeds obtained directly or indirectly as a
result of the offenses alleged in Counts One through Three and,
pursuant to Title 18, United States Code, Section 1030(i), any
interest in any personal property that was used or intended to
be used to commit or facilitate the commission of the offenses
alleged in Counts One through Three, and any property, real or

personal, constituting or derived from any proceeds obtained

64

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 65 of 68

directly or indirectly as a result of the offenses alleged in
Counts One through Three.

93. As a result of committing one or more of the offenses
charged in Counts Four through Thirteen, and Eighteen through
Twenty, of this Indictment, GERY SHALGN, a/k/a “Garri
Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe
Mousset,” a/k/a “Christopher Engeham,” JOSHUA SAMUEL AARON,
a/k/a “Mike Shields,” and ZEV ORENSTEIN, a/k/a “Aviv Stein,”
a/k/a “John Avery,” the defendants, shall forfeit to the United
States, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461, any
and all property, real and personal, which constitutes or is
derived from proceeds traceable to the offenses alleged in
Counts Four through Thirteen, and Eighteen through Twenty.

94. As a result of committing the offense alleged in Count
Fourteen of this Indictment, GERY SHALON, a/k/a “Garri
Shalelashvili,” a/k/a “Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe
Mousset,” a/k/a “Christopher Engeham,” JOSHUA SAMUEL AARON,
a/k/a “Mike Shields,” and ZIV GRENSTEZN, a/k/a “Aviv Stein,”
a/k/a “John Avery,” the defendants, shall forfeit to the United
States, pursuant to Title lB, United States Code, Section
982(a)(2)(B), any property constituting or derived from proceeds

obtained directly or indirectly as a result of the offense

65

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 66 of 68

alleged in Count Fourteen and, pursuant to Title 18, United
States Code, Section 1628(b){5), any personal property used or
intended to be used to commit the offense alleged in Count
Fourteen.

95. As a result of committing one or more of the offenses
alleged in Counts Twenty One through Twenty Three of this
anictment, GERY SHALON, a/k/a “Garri Shalelashvili,” a/k/a
“Gabi," a/k/a “Phillipe Mousset,” a/k/a “Christopher Engeham,”
and JOSHUA SAMUEL AARON, a/k/a “Mike Shields,” the defendants,
shall forfeit to the United States pursuant to Title 18, United
States Coder Section 982(a)(l), any property, real or personal,
involved in the offenses alleged in Counts Twenty One through

Twenty Three, or any property traceable to such property.

66

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 67 of 68

Substitute Assets Provision
96. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled With other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 18,
United States Code, Section 982(b), Title 21, United States
Code, Section 853(p), and Title 28, United States Code, Section
2461, to seek forfeiture of any other property of the defendant

up to the value of the above forfeitable property.

(Title 18, United States COde, Sections 981, 982,1028 & 1030;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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United States Attorney

67

Case 1:15-cr-00333-LTS Document 14 Filed 11/09/15 Page 68 of 68

Form NO. USA~33S-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
¢- v. _

GERY SHALON,
a/k/a “Garri Shalelashvili,” a/k/a
“Gabriel,” a/k/a “Gabi,” a/k/a “Phillipe
Mousset,” a/k/a “Christopher Engeham,”
JOSHUA SAMUEL AARON¢
a/k/a “Mike Shields,” and

ZIV ORENSTEIN,

a/k/a “Aviv Stein,” a/k/a “John Avery,”

Defendants.

 

SEALED SUPERSEDING INDICTMENT

 

Sl 15 Cr. 333 {LTS)

(15 U.s.C. §§ 73j(b) & vsff; 17 c.F.R. §

240.106-5; 18 U.s.C. §§ 371, 1030, 1343,

2349, 1028(£), iozeA, 1955, 1956, 1960 s
2, 31 U.s.c. §§ 5363 s 5366)

PREET BHARARA
United States Attorney.

 

TRUE BILL

aar/s
/O

FOREPERSON

 

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